Case 2:05-cV-02280-.]PI\/|-de Document 5 Filed 06/30/05 Page 1 of 2 Page|D 1

 

IN THE UNITED STATES DISTRICT coURT m BY . m__ D_c_
wEsTERN DISTRICT 0F TENNESSEE 05 '
WESTERN DIvISION JUN 30 ph 2_. he
fw

MAXEY MAXWELL and CLUU_.S regrme

LINZIE MAXWELL, W/WF Mm,;p;{$

Plaintiffs,
vs. No. 05-2280-Mav

FRED PHILLIPS, in his official
capacity as Commissioner of the
Tennessee Department of Safety,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Jon
Phipps McCalla in exchange for Case No. 2:05cv2310, Marcus Kanard
PaVne v. State of Tennessee, et al. The parties shall, on all
pleadings and correspondence related to this matter, change the
judge’s initials in the case number from “Ma” to “Ml.”

It is so ORDERED this 3“"(day of June, 2005.

.M<//W)__.

SAMUEL H. MAYS, JR.
UNI"I‘ED STATES DIS'I‘RICT JUDGE

 

Thts document entered on the docket sheet in compliance 5

With Ftule 58 and/or 79(a) FHCP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02280 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

